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 4
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 5

 6
                        IN THE UNITED STATES DISTRICT COURT
 7
                     FOR THE EASTERN DISTRICT OF CALIFORNIA
 8

 9
     UNITED STATES OF AMERICA,                     )          Crim. S-05-290 WBS
10                                                 )
                                      Plaintiff,   )
11                                                 )       STIPULATION AND ORDER
                          v.                       )              THEREON
12                                                 )
     ABRAHAM MUNGUIA,                              )
13                                                 )
                                  Defendant,       )
14                                                     )
15          It is hereby stipulated between counsel for the government and the defendant that
16   the sentencing in the above captioned matter, presently scheduled for September 30, 2006
17   maybe continued to October 4, 2006. This continuance is necessary to allow the
18   defendant to comply with the terms of his plea agreement. The defendant having already
19   pled guilty there are no issues regarding excludable time.
20   Dated: August 24, 2006                                Dated: August 24, 2006
21   STEVEN D. BAUER                                       PHILLIP FERRARI
     Attorney for Defendant                                Assistant United States Attorney
22
     For Good Cause Appearing
23   IT SI SO ORDERED
     Dated: August 24, 2006
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